













NUMBER 13-09-00366-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


                                                                                                                      


IN RE:  FRIZO VALERO

                                                                                                                      


On Petition for Writ of Mandamus

                                                                                                                      


MEMORANDUM OPINION


Before Justices Rodriguez, Garza and Vela

Memorandum Opinion Per Curiam (1)


	Relator, Frizo Valero, has filed a petition for writ of mandamus by which he requests
that this Court direct respondent, the Honorable Elia Cornejo Lopez, presiding judge of the
404th Judicial District Court of Cameron County, Texas, to vacate her January 28, 2009
order granting the State's "Motion for Reconsideration and to Void Orders Modifying
Probation Judgment and Dismissing Charges."

	Having reviewed and fully considered the relator's petition for writ of mandamus and
the State's response thereto, this Court is of the opinion that the relator is not entitled to
the relief sought and that the petition should be denied.  See Tex. R. App. P. 52.8(a). 
Accordingly, the petition for writ of mandamus is DENIED.


								PER CURIAM


Do not publish.

See Tex. R. App. P. 47.2(b).


Memorandum opinion delivered and 

filed on the 27th day of July, 2009.
1.  See Tex. R. App. P. 47.4 (distinguishing opinions and memorandum opinions), 52.8(d) ("When
denying relief, the court may hand down an opinion but is not required to do so.")


